Case 8:21-cv-01233-PX Document 1 Filed 05/19/21 Page 1of 8

FILED
U.S. DISTRICT COURT
DISTRICT OF MARYLAND

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND

 

Mithun Banerjee

13119 Fernedge Road,

Silver Spring, MD-20906.

(Write the full name of each plaintiff who is filing
this complaint. If the names of all the plaintiffs

cannot fit in the space above, please write “see
attached” in the space and attach an additional

page with the full list of names.)

-against-
Vivint Solar Developer LLC
R.A.-2405 YORK ROAD, SUITE 201,
LUTHERVILLE TIMONIUM MD 21093.

(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional

page with the full list of names.)

2 MAY 19 P 37

KS OFFICE
SEARED]

“4
tH

CLE

AT GR

Complaint for a Civil Case

Case No. J\- CV -1933-PX

(to be filled in by the Clerk’s Office)

—

F

@ Yes 0 No
(check one)

Jury Trial:

 

 

 
Case 8:21-cv-01233-PX Document 1 Filed 05/19/21 Page 2 of 8

I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach

additional pages if needed.

Name

Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

Mithun Banerjee

 

13119 Fernedge Road,

 

Silver Spring,

 

MD-20906.

 

409-466-2431

 

mithunbanerjee@gmail.com

 

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name

Job or Title

(if known)

Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

(if known)

Vivint Solar Developer LLC

 

 

R.A.-2405 YORK ROAD, SUITE 201,

 

LUTHERVILLE TIMONIUM,

 

MD 21093.

 

 

 

 
Case 8:21-cv-01233-PX Document1 Filed 05/19/21

Defendant No. 2

Name

Job or Title

(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Defendant No. 3

Name

Job or Title

(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Defendant No. 4

Name

Job or Title

(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Page 3 of 8

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(If there are more than four defendants, attach an additional page
providing the same information for each additional defendant.)

 
Case 8:21-cv-01233-PX Document1 Filed 05/19/21 Page 4 of 8

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
case. In a diversity of citizenship case, no defendant may be a citizen of the same State
as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

@ Federal question O Diversity of citizenship
Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United
States Constitution that are at issue in this case.

28 USC SS 1343, 1651 and 1367

 

 

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff{s)
a. If the plaintiff is an individual

The plaintiff, (name) Mithun Banerjee , is a citizen of
the State of (name) Maryland

 

b. If the plaintiff is a corporation

The plaintiff, (name) , is incorporated
under the laws of the State of (name) ,
and has its principal place of business in the State of (name)

 

 

(If more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)

4

 
Case 8:21-cv-01233-PX Document 1 Filed 05/19/21 Page 5 of 8

2.

 

 

The Defendant(s)

a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Or is a citizen of
(foreign nation)

 

b. If the defendant is a corporation

The defendant, (name) Vivint Solar Developer LLC , is
incorporated under the laws of the State of (name)

Maryland , and has its principal place of
business in the State of (name) Utah . Oris
incorporated under the laws of (foreign nation)

, and has its principal place of

 

 

 

 

business in (name)

 

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant
owes or the amount at stake—is more than $75,000, not counting interest
and costs of court, because (explain):

Plaintiff claims financial damages due to Fraud for $250,000.00.

 

 

 

a Oe

 
Case 8:21-cv-01233-PX Document 1 Filed 05/19/21 Page 6 of 8

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.

Defendant altered 3 Power Purchase Agreements after Plaintiff signed the same.
Defendant does altered 3 Power Purchase Agreements without Plaintiff's knowledge
and Permission. To Void those Contracts will be a Cost almost $250,000 for 3 Properties.
Plaintiff is under current Medical Condition & this has caused significant Stress to Plaintiff.
Plaintiff had a Fire in his Primary Residence where Plaintiff had the Orginal Carbon Copies
of the Orginal Signed Contract which Plaintiff found after Plaintiff had confusion about the Unit
Prices. Once Plaintiff found the Carbon Copies of the Orginal 3 Contracts, Plaintiff
realized that Defendant altered the Unit Prices of the Originally Signed Contracts for
all the 3 Properties. Hence, Plaintiff requests the expenses, so that Plaintiff can switch
the Service Provider. Piaintiff lost trust on Defendant and found Defendants Business
Practices very Unethical and illegal based on Plaintiffs experiences.

Plaintiff is not an Attorney and under Medical Treatment. Hence, Plaintiff requests
Court Appointed Attorney and the expenses should be Paid by Defendant when
Plaintiff wins the Case along with the Claimed Amount.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 8:21-cv-01233-PX Document 1 Filed 05/19/21 Page 7 of 8

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages. For any request for injunctive relief, explain why
monetary damages at a later time would not adequately compensate you for the injuries
you sustained, are sustaining, or will sustain as a result of the events described above, or
why such compensation could not be measured.

Plaintiff claims financial damages due to Defendant's Fraud for $250,000.

 

 

 

 

 

 
Case 8:21-cv-01233-PX Document 1 Filed 05/19/21 Page 8 of 8

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: 05//9 , 202.
Signature of Plaintiff YY ott a fianosfe2
Printed Name of Plaintiff Mithun Banerj

(If more than one plaintiff is named in the complaint, attach an additional
certification and signature page for each additional plaintiff.)

 

B. For Attorneys
20

Date of signing:

 

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm
Address

Telephone Number
Email Address

 

 

 

 

 

 

 

 
